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                               UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF TEXAS
                                    MARSHALL DIVISION

OPTIS WIRELESS TECHNOLOGY, LLC,
OPTIS CELLULAR TECHNOLOGY, LLC,
UNWIRED PLANET, LLC, UNWIRED                                Civil Action No. 2:19-cv-66-JRG
PLANET INTERNATIONAL LIMITED, AND
PANOPTIS PATENT MANAGEMENT, LLC.,

                 Plaintiffs,                                JURY TRIAL

         v.

APPLE INC.,

                 Defendant.



                 JOINT MOTION FOR ENTRY OF A PROTECTIVE ORDER

         Plaintiffs Optis Wireless Technology, LLC, Optis Cellular Technology, LLC, Unwired

Planet, LLC, Unwired Planet International Limited, and PanOptis Patent Management, LLC

(Plaintiffs) and Defendant Apple Inc. (Defendant) (collectively, the Parties) file this motion for

entry of a Protective Order. The Parties agree to the proposed Protective Order, which is

attached as Exhibit A.

         Accordingly, the Parties respectfully request that the Court enter the proposed Protective

Order.




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Dated: July 29, 2019               Respectfully submitted,

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                                  Attorneys for Defendant Apple Inc.




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                              CERTIFICATE OF SERVICE

       The undersigned certifies that the foregoing document was filed electronically in
compliance with Local Rule CV-5(a). As such, this document was served on all counsel who
have consented to electronic services on July 29, 2019. Local Rule CV-5(a)(3)(A).

                                                 /s/ Jennifer Truelove



                           CERTIFICATE OF CONFERENCE

       Counsel for Plaintiff and counsel for Defendant have discussed the matters herein and
have agreed to this joint filing.

                                                 /s/ Jennifer Truelove




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